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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

*************************
LAURA ROY,                 *
                           *                         No. 09-898V
               Petitioner, *                         Special Master Christian J. Moran
                           *
v.                         *                         Filed: January 31, 2014
                           *
SECRETARY OF HEALTH        *                         Attorneys’ fees and costs; stipulation
AND HUMAN SERVICES,        *                         of fact; award in the amount to which
                           *                         respondent does not object
               Respondent. *
*************************

Howard S. Gold, Gold Law Firm, LLC, Wellesley Hills, MA, for petitioner.
Debra A. Filteau Begley, United States Dep’t of Justice, Washington, D.C., for respondent.

                    UNPUBLISHED DECISION ON FEES AND COSTS1

        Respondent filed a stipulation of fact concerning final attorneys’ fees and costs in the
above-captioned matter on January 29, 2014. Petitioner filed a motion for attorneys’ fees and
costs on December 13, 2013. After informal discussions, petitioner amended her total request.
Petitioner now requests $43,000.00 in attorneys’ fees and costs. In compliance with General
Order #9, petitioner states that she incurred no costs in pursuing her petition. Respondent does
not object to the total amount petitioner requests. The Court awards this amount.

        Petitioner filed her petition on December 30, 2009 and was awarded compensation on
May 21, 2013. Judgment entered on June 27, 2013. Because petitioner received compensation,
she is entitled to an award of attorneys’ fees and costs. 42 U.S.C. § 300aa-15(e).

      Petitioner seeks a total of $43,000.00 in attorneys’ fees and costs for her counsel.
Respondent has no objection to the amount requested for attorneys’ fees and costs.

        After reviewing the request, the Court awards a check made payable to petitioner and
petitioner’s attorney, Howard S. Gold of The Gold Law Firm LLC, in the amount of $43,000.00

       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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for attorneys’ fees and other litigation costs. The Court thanks the parties for their cooperative
efforts in resolving this matter.

       The Clerk shall enter judgment accordingly.2

       IT IS SO ORDERED.

                                                      s/Christian J. Moran
                                                      Christian J. Moran
                                                      Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each party
filing a notice renouncing the right to seek review by a United States Court of Federal Claims
judge.

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